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      In the United States Court of Federal Claims
                                     No. 13-662C
                             (Filed September 22, 2017)
                             NOT FOR PUBLICATION

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                                  *
ALLEN ENGINEERING                 *
CONTRACTOR INC.,                  *
                                  *
                 Plaintiff,       *
                                  *
      v.                          *
                                  *
THE UNITED STATES,                *
                                  *
                 Defendant.       *
                                  *
* * * * * * * * * * * * * * * * * *


                              SCHEDULING ORDER

       As discussed at today’s status conference, defendant’s Motion for
Enlargement of Discovery Deadlines is GRANTED. Plaintiff opposed this motion,
which sought to extend deadlines roughly six weeks beyond what plaintiff believed
to be reasonable. But all of plaintiff ’s claims in this matter have been brought
under the Contract Disputes Act --- which provides for interest accruing from the
date a claim was received by the contracting officer, see 41 U.S.C. § 7109 --- and
thus, if plaintiff succeeds on the merits it will be compensated for any delay in its
receipt of damages. Plaintiff has identified no prejudice which might result from
the additional delay, and defendant’s counsel has persuasively explained the
conflicts and previous scheduling difficulties which have necessitated the request.
Accordingly, the motion is granted, and the government’s proposed, revised
schedule is adopted as follows:

   1. January 12, 2018: close of fact discovery;

   2. February 16, 2018: service by plaintiff of expert reports;

   3. March 23, 2018: service by defendant of expert reports; and

   4. April 20, 2018: close of expert discovery.
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The parties shall file a joint status report on or by May 11, 2018, proposing a
schedule for further proceedings.

IT IS SO ORDERED.


                                       s/ Victor J. Wolski
                                       VICTOR J. WOLSKI
                                       Judge




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